Case 2:22-cv-00223-Z Document 32 Filed 02/03/23 Page 1,of1_ PagelD 2450

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

AMARILLO DIVISION Ne US. DISTRICT COURT

ALLIANCE FOR HIPPOCRATIC § =
MEDICINE, et al., §

Plaintiffs, :
v. 2:22-CV-223-Z
U.S. FOOD AND DRUG
ADMINISTRATION, et al., §

Defendants. ;

ORDER

On or before February 10, 2023, the parties are ORDERED to submit separate briefs on
whether the Court should consolidate the injunction hearing and the trial on the merits pursuant to
Federal Rule of Civil Procedure 65(a)(2).

SO ORDERED.

February 5, 2023 Wife onp1ar/——

MATYHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 
